 This document was signed electronically on April 4, 2019, which may be different from its
 entry on the record.


 IT IS SO ORDERED.

 Dated: April 4, 2019




                              UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

                                                                   )     Chapter 11
 In re:                                                            )
                                                                   )     Case No. 18-50757 (AMK)
 FIRSTENERGY SOLUTIONS CORP., et al.,1                             )     (Jointly Administered)
                                                                   )
                                    Debtors.                       )
                                                                   )     Hon. Judge Alan M. Koschik
                                                                   )


               ORDER GRANTING MOTION OF THE DEBTORS
              FOR AN ORDER GRANTING LEAVE TO FILE THE
     HUMAN RESOURCES MANAGEMENT SERVICES CONTRACT UNDER SEAL

          The Motion of Debtors Pursuant to Section 107(b) of the Bankruptcy Code and Rule

 9018 of the Federal Rules of Bankruptcy Procedure for an Order Granting Leave to File the

 Human Resources Management Services Contract Under Seal (the “Motion”) of the above



 1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
 18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
 Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
 FirstEnergy Solutions Corp. (0186); and Norton Energy Storage L.L.C. (6928), case no. 18-50764. The Debtors’
 address is 341 White Pond Dr., Akron, OH 44320.




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 captioned debtors and debtors in possession (collectively, the “Movants”) having been

 considered, it is:

          ORDERED that the Motion is GRANTED and the Movants are authorized to file the

 following under seal: the ADP Contract2 as an exhibit to the Motion of the Debtors for Entry of

 an Order Authorizing FirstEnergy Solutions Corp. to Enter into and Perform Under a Human

 Resources Management Services Contract [Docket No. 2327] and as attached to the Notice of

 Filing Revised Exhibit B to Motion of Debtors for Entry of an Order Authorizing FirstEnergy

 Solutions Corp. to Enter Into and Perform Under a Human Resources Management Services

 Contract [Docket No. 2447]. Movants shall be required to deliver the ADP Contract only to the

 Court, the U.S. Trustee, the counsel for the Official Committee of Unsecured Creditors, counsel

 to the ad hoc group of certain holders of (i) pollution control revenue bonds supported by notes

 issued by FirstEnergy Generation, LLC and FirstEnergy Nuclear Generation, LLC and (ii)

 certain unsecured notes issued by FirstEnergy Solutions Corp., and counsel to the Ad Hoc Group

 of Holders of the 6.85% Pass Through Certificates due 20343 and other parties only upon further

 order of the Court.

                                                        ###




 2
   Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Motion.
 3
   Due to the highly confidential nature of the ADP Contract, said contract is provided to the aforementioned counsel
 on an “attorneys eyes only” basis and shall not be provided to the clients of said counsel. “Attorneys” as used herein
 includes other professionals, such as financial advisors, accountants and investment bankers.

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 SUBMITTED BY:

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 Counsel for Debtors and Debtors in Possession




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